Adrian Jules in Pro Per
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                                                                                       April 12, 2023

The Honorable Judge Lorna G. Schofield
United States District Court | Southern District of New York
40 Foley Square, Courtroom 1106 | New York, NY 10007
Re: Request for Motion Submission Pursuant to Rules of Court
Case No.: 1:20-cv-10500-LGS


Dear Judge Schofield,

        I am writing to request the right to submit my opposition/motion to vacate the arbitration
award in response to Defendants pursuant to the rules of this court detailed in the Special Rules &
Practices in Civil Pro Se Cases No. 5(c) that stipulates in pertinent part, “All written motions shall
be accompanied by a memorandum of law. Unless prior permission has been granted, memoranda
of law in support of and in opposition to motions are limited to 25 pages, and reply memoranda
are limited to 10 pages”.

        This case is complex and the arbitration award under dispute seeks to cause irreparable
harm to me, a now self-represented Plaintiff who sought relief for work related human and civil
rights violations that today remain unresolved whilst sanctions and an adverse decision loom over
me in violation of the arbitration agreement, public policy, and applicable federal and state law.
Thus, Plaintiff is no position to effectively argue within the prescribed fifteen-page limit and
should not be deprived of rights ordinarily given to parties in this court.

        Plaintiff kindly requests permission to submit its motion pursuant to the rules of this court
for pro se litigants (twenty-five pages) to ensure it is not prejudiced or deprived of due process by
an inability to fully articulate arguments to assert his rights and raise defenses by the limitation
being imposed by the fifteen-page limit.

                                                                                           Sincerely,

                                                                              Adrian Jules, in Pro Per
